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FOR THE NORTHERN DISTRICT OF ILLINOIS

WESTERN DIVISION
NICOLE LEDEN, )
Plaintiff, §
v. § Case No.: 2009 - C - 50182
SWEDISHAMERICAN HOSPITAL, §
an Illinois not-for-profit corporation, )
Defendant. §

 

STIPULATION FOR AND ORDER OF DISMISSAL WITH PREJUDICE

 

The parties hereby stipulate, and the court hereby orders, that pursuant to the parties’
settlement, this action is hereby dismissed with prejudice in its entirety, and that there is no just
reason to delay enforcement or appeal of this order.

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